Case 1:21-mc-00401-JPO Document 4-3 Filed 04/19/21 Page 1 of 4




              Exhibit 3
e
    Case 1:21-mc-00401-JPO Document 4-3 Filed 04/19/21 Page 2 of 4
    .
         Republic and Canton of Geneva                                        Geneva, date of post stamp
         JUDICIARY POWER
'        Civil Tribunal

                                                                                                                   RECEIVED ON 10 FEB. 2021

                                                                                                                       C/22150/2020 14 GEA C
    Tribunal de premiere instance
    [Court of First Instance)

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    Rue de l'Athenee 6-8                                                                   1211 GENEVE 3
    Case postale 3736
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                                                                             DILIGENCE GLOBAL BUSINESS
                                                                             INTELLIGENCE SA
                                                                             c/o Ms GIROUD Sandrine, Barrister
                                                                             Lalive SA
                                                                             Rue de la Mairie 35
                                                                             1211 Geneva 6

         Ref : C/22150/202014GEAC
                 Quote this reference in all communications

                                                     SUMMONS TO APPEAR
         In the above-mentioned cause, the Tribunal summons you to appear at the conciliation hearing to be
         held on:


                                     Date:     THURSDAY 3 JUNE 2021 at 02:25 p.m.

                                    Place:     Rue des Glacls-de-Rlve 6
                                               1207 Geneva•• Room US••

                              Please anwa el least 15 minutes before your hearing sterls due to sacurity checks.



          Plaintiff                                                        Defendant
          DILIGENCE GLOBAL BUSINESS                                        CORNERSTONE GLOBAL ASSOCIATES LTD
          INTELLIGENCE SA                                                  Mr NUSEIBEH Ghanem Mohammed
          represented by Ms GIROUD Sandrine, Barrister


         Subject-matter of the dispute :             Action for determination of rights; Code of Obligations
                                                     miscellaneous


         A copy of the application is sent to the defendant.

         The parties are invited to file all the documents necessary for the assessment of the dispute, in
         duplicate, together with a docket, seven days before the date of the hearing at the Tribunal's registry.

         The parties may, on request, consult the said documents at the Tribunal's registry.

         The parties must appear in person, except in cases provided for by law (art. 204 CPC).




                              CERTIFIED TRUE&CORRECT
                              TRiANSLATION GENEVA..........,                            Arnaud VALVASON [sign.]

                                    u. /04 /?0Q.1                                                                               HL TRAD
                                                                                                                   Bcl!l(,vard Georges-Favon 43
                                                 For legal provisions, see overleaf                                           1204 Geneve
                                                                                                                            www.hltrad.com
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Case 1:21-mc-00401-JPO Document 4-3 Filed 04/19/21 Page 3 of 4




' I HL TRa                          • becomes acolad.
            Legal & Financial Translation




                                    CERTIFICAT DE TRADUCTION



  Je soussigne Nadia Stephanov, traductrice-juree pour l'anglais, titulaire d'une licence es
  Lettre de l'Universite de Geneve, certifie avoir traduit le document suivant :

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  du frarn;ais vers l'anglais pour le compte de la societe HL TRAD situee Bd Georges Favon
  43 a Geneve, agence de traduction specialisee dans la traduction juridique et financiere.


  Je certifie que cette traduction est,                 a ma     connaissance, conforme              a !'original     redige en
  langue fran<;:aise.



  Attestation pour servir et faire valoir ce que de droit

  Fait le ... 9 avril 2021 .... ..... ... .....   a ............... Geneve...... ... ...... ..... . ............... ... .

  Signature




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        Republique et canton de Geneve                                         Geneve, date du timbre postal
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- ..--... Tribunal civil
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  Tribunal de premiere instance
  Rue de l'Athenee 6-8                                                                         1211 GENEVE 3
  Case postale 3736
  CH - 121'1 GENEVE 3
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                                                                               DILIGENCE GLOBAL BUSINESS
                                                                               INTELLIGENCE SA
                                                                               c/o Me GIROUD Sandrine
                                                                               Lalive SA
                                                                               Rue de la Mairie 35
                                                                               Case postale 6569
                                                                               1211 Geneve 6
        Ref : C/22150/2020 14 GEA C
                   a rappeler lors de toute communication
                                                  CITATION A COMPARAITRE
      Dans la cause visee sous reference, le Tribunal vous cite                 a comparaitre a !'audience de conciliation qui
      se tiendra le :

                                                    Date :    JEUDI 3 JUIN 2021        a 14:25 heures
                                                    Lieu :    Rue des Glacis-de-Rive 6
                                                              1207 Geneve, ** salle US **

               Veui/lez vous presenter au moins 15 minutes avant le debut de votre audience en raison des contr6/es de securite.



       Partie demanderesse                                                 Parties defenderesses
       DILIGENCE GLOBAL BUSINESS INTELLIGENCE CORNERSTONE GLOBAL ASSOCIATES LTD
       SA
                                              Monsieur NUSEIBEH Ghanem Mohammed
       comparant par Maitre GIROUD Sandrine


       Objet du litige :          Action en constatation de droit; Code des obligations divers

      Une copie de la requete est adressee              a la partie defenderesse.
      Les parties sont invitees a deposer toutes les pieces necessaires a !'appreciation du litige, en 2
      exemplaires, accompagnees d'un bordereau, sept jours avant la date de !'audience au greffe du
      Tribuna l.

      Les parties pourront, sur requete, consulter lesdites pieces au greffe du Tribunal.

      Les parties doivent comparaitre personnellement, sauf exceptions prevues par la loi (art. 204 CPC).

      Le representant doit justifier de ses pouvoirs par une procuration l'autorisant                    a transiger.




                                            Pour les dispositions legales, voir au verso

       TPI_C_001                             Tribunal de premiere instance - Tel : +41 22 327 66 50                                   ws
       Recommand~ C6
